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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   NO. 4:12CR00041-02-JLH

BOB SAM CASTLEMAN                                                                      DEFENDANT

                                              ORDER

       Bob Sam Castleman has filed a motion to vacate, set aside, or correct his sentence pursuant

to 28 U.S.C. § 2255. The Court directs the United States to file a response on or before December 2,

2016. If Castleman wishes to file a reply, his reply will be due no later than seventeen days after the

United States files its response.

       IT IS SO ORDERED this 4th day of November, 2016.



                                                       __________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
